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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DANIEL BOTTORFF, et al.,                              )
                                                      )
                       Plaintiffs,                    )
                                                      ) Civil Action No. 1:18-cv-03122-CKK
       v.                                             )
                                                      )
ISLAMIC REPUBLIC OF IRAN, et al.                      )
                                                      )
                       Defendants.                    )
                                                      )

       STATUS REPORT REGARDING SERVICE ON FOREIGN DEFENDANTS

       COMES NOW the Plaintiffs, by and through counsel, and hereby file a Status Report

regarding Plaintiffs efforts to effectuate service on Defendants.

   I. STATUS REPORT

       On December 28th 2018, Plaintiffs filed an action against Islamic Republic of Iran

(“Defendant”) for the deaths, serious injuries and emotional distress suffered as a result of an A

[Complaint; Doc. 1 ¶ 1]. Plaintiffs brought an action against Defendants pursuant to 28 U.S.C. §

1605A, an exception to the Foreign Sovereign Immunities Act allowing suit against foreign state

sponsors for wrongful death, personal injury and related torts, by the estates and families of United

States nationals and/or members of the U.S. armed forces (as defined in 10 U.S.C. §101) who were

killed or injured by Iran and/or its agents in Iraq from 2004 to 2011. Id. at ¶ 1. Specifically,

Plaintiffs have alleged that the terrorist organization Hezbollah, acting under sponsorship and

direction, and with material support and resources of the Defendant, killed or injured U.S.

citizens in Iraq/Afghanistan from 2004 to 2011. Id. at ¶ 1.

       On September 5th 2019, Plaintiffs received final translations of the Complaint, Summons,

and Notice of Suit into Farsi, the official languages of Iran. On October 2nd 2019, a paralegal in

my office conversed with the clerk’s office to determine whether or not our office could mail in


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the package or if we needed to have someone to take it to the post office directly. Based on that

conversation we decided to mail in the full package.

       On October 2nd, our office mailed the documents to a courier in the District of Columbia

who took the package to the court to be sealed. October 3rd, 2019, the package was then brought

to the nearest post office for mailing via registered mail, in which the Plaintiffs mailed one copy

of the summons, complaint, notice consent and reference of a civil action to a magistrate judge,

and notice of suit together with a translation of each by registered mail, return receipt, to the

head of the ministry of foreign affairs of the Defendant pursuant to 28. U.S.C. §1608(a)3 and

forwarded a Certificate of Mailing to the Court which was posted by the Court on October 4th 2019.

The courier then brought the registered mail receipt back to the court for lodging.

       Plaintiffs do not anticipate that service will be effectuated upon Defendants by foreign

mailing and will file an Affidavit Requesting Foreign Mailing through the U.S. Department of

State, Director of Overseas Citizens Services, after the expiration of the necessary 30 days. 28

U.S.C. § 1608(a)(4). If Plaintiffs are unable to serve the Defendant by foreign mailing, and the

State Department is still unable to serve Defendant and its political entities through diplomatic

channels, Plaintiffs will likely request a Status Conference with the Court to discuss the

appropriate procedure for moving forward against the named Defendant.

                                       Respectfully submitted,

                                       /s/ Michael J. Miller
                                       Michael J. Miller, Esq.
                                       D.C. Bar No. 397689
                                       The Miller Firm LLC
                                       108 Railroad Avenue
                                       Orange, VA 22960
                                       Tel: (540) 672-4224




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                                      Peter Miller, Esq.
                                      MILLER DELLAFERA, PLC
                                      3420 Pump Rd PMB 404, Henrico, VA
                                      Telephone (1-800-401-6670)

                                      SALIM-BEASLEY, LLC
                                      1901 Texas Street
                                      Natchitoches, LA 71457
                                      (800) 491-1817
                                      (318) 238-1829 – Direct
                                      Attorneys for Plaintiffs




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of October 2019, a true and correct copy of the

foregoing Status Report Regarding Service on Foreign Defendants was filed electronically with

the Clerk of Court using the CM/ECF system which will send a notification of such filing on all

counsel of record.


                                      /s/ Michael J. Miller
                                      Michael J. Miller, Esq.




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